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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) QUILL INK BOOKS LIMITED, a
foreign corporation,

       Plaintiff,


v.                                              Case No.: CIV-18-920-G

(1) ABCD GRAPHICS AND DESIGN,
INC., D/B/A BLUSHING BOOKS
PUBLISHING, a foreign corporation,
(2) RACHELLE SOTO a/k/a ADDISON
CAIN, an individual, and
(3) JOHN and JANE DOE, unknown
individuals and online participants,

       Defendants.


     PLAINTIFF, QUILL INK BOOK LIMITED’S COMBINED RESPONSE AND
       OBJECTION TO THE MOTION TO DISMISS FILED BY DEFENDANT,
        RACHELLE SOTO A/K/A ADDISON CAIN AND THE RESPONSE TO
      COMPLAINT FILED BY DEFENDANT, ABCD GRAPHICS AND DESIGN,
                       INC., D/B/A BLUSHING BOOKS


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December 17, 2018
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       Plaintiff, Quill Ink Books Limited (“Quill”) submits the following combined

objection in response to the Motion to Dismiss Plaintiff’s First Amended Complaint for

Lack of Personal Jurisdiction and Improper Venue, or, in the Alternative, Transfer

[Motion, Dkt. No. 18] filed by Defendant Rachelle Soto a/k/a Addison Cain (“Cain”) and

the Response to Complaint [Resp., Dkt. No. 19] filed by ABCD Graphics and Design, Inc.,

d/b/a Blushing Books (“Blushing”). In support, Quill shows the Court as follows:

                              PRELIMINARY STATEMENT

       This action arises from false and defamatory communications delivered by Blushing

and Cain directly to Quill’s eBook distributor in Oklahoma, Draft2Digital, L.L.C.

(“Draft2Digital”), and to various other online vendors. Draft2Digital is an Oklahoma

limited liability company with its principal place of business, and sole office, in Oklahoma

City, Oklahoma. Blushing and Cain’s contacts with Draft2Digital tortiously interfered with

Quill’s distribution contract with Draft2Digital; deprived Quill of its contractual right to

participate in Draft2Digital’s distribution program; and caused Quill to lose pre-release and

ordinary book sales in the United States and internationally. On May 29, 2018, after filing

its counter-notice to restore its contractual relationship with Draft2Digital, Blushing and

Cain provided notice of their intent to commence legal action against Quill on May 20,

2018. In providing its counter-notice to Draft2Digital, Quill was required to consent to the

jurisdiction of the U.S. District Court of the Western District of Oklahoma regarding the

notice delivered to its distributor. 1 Quill filed the instant action on October 17, 2018,


1
 17 U.S.C.S. § 512 provides that “the subscriber consents to the jurisdiction of Federal
District Court . . . if the subscriber’s address is outside of the United States, for any judicial

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against Blushing and Cain seeking injunctive relief for intentional interference with

contract and for copyright misuse; and for damages for misrepresentation of copyright

claims under the DIGITAL MILLENNIUM COPYRIGHT ACT (“DMCA”), tortious interference

with prospective and existing business relationships, defamation, false light, civil

conspiracy; and for declaratory relief.

                             SUMMARY OF ARGUMENT

       Personal jurisdiction in this case is based on the laws of the forum state and whether

jurisdiction comports with constitutional due process. Intercon, Inc. v. Bell Atl. Internet

Solutions, Inc., 205 F.3d 1244, 1247 (10th Cir. 2000). Oklahoma courts “may exercise

jurisdiction on any basis consistent with the Constitution of this state and the Constitution

of the United States.” OKLA. STAT. tit. 12, § 2004(F). As “Oklahoma’s long-arm statute

permits the exercise of any jurisdiction that is consistent with the United States

Constitution, the personal jurisdiction inquiry under Oklahoma law collapses into the

single due process inquiry.” Intercon, 205 F.3d at 1247.

       Personal jurisdiction over a non-resident defendant satisfies due process if there are

sufficient “minimum contacts between the defendant and the forum state.” World-Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 291, 100 S. Ct. 559, 62 L. Ed. 2d 490 (1980);

Intercon, 205 F.3d at 1247. The minimum contacts may support specific jurisdiction or

general jurisdiction. Id.




district in which the service provider may be found, and that the subscriber will accept
service of process from the person who provided notification under subsection (c)(1)(C) or
an agent of such person.”).

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       Quill’s Amended Complaint states “Defendants, and each of them, have sufficient

contacts with this judicial district generally and, in particular, with the events herein

alleged, that each such Defendant is subject to the exercise of jurisdiction of this court over

the person and such Defendant.” [Am. Cmplt. ¶ 6]. Further, Quill explains “based on the

national reach of Defendants, and each of them, a substantial part of the events giving rise

to the claims herein alleged occurred in this judicial district.” [Am. Cmplt. ¶ 7]. These

statements are made in compliance with Rule 8(a)(1) advising “of the grounds for the

court’s jurisdiction.” FED. R. CIV. P. 8. Thus, the grounds for personal jurisdiction focus

on “the events giving rise to the claims” which “occurred in [Oklahoma].” [Id.].

       While these initial statements are, by design, conclusory, each is supported by

subsequently alleged jurisdictional facts. Specifically, Quill alleges its “publications are

sold internationally through Amazon and other online vendors, including Barnes and

Noble, Apple iTunes, Rakuten-Kobo, Google Play, and Draft2Digital, a distributor whose

principal address is in Oklahoma City, Oklahoma.” [Am. Cmplt. ¶ 8 (emphasis added)].

The Amended Complaint alleges “Blushing and Cain directed a ‘take-down’ notice to

Draft2Digital and other vendors on or about April 19, 2018,” demanding “Draft2Digital

remove the MYTH OF OMEGA books from sale.” [Am. Cmplt. ¶ 44; Coale Dec., Ex.1]. And,

“[o]n May 16, 2018, Draft2Digital’s representative advised Plaintiff that Draft2Ditigal and

Barnes and Noble had removed the MYTH OF OMEGA Series from sale because of the ‘take-

down’ notices.” [Am. Cmplt. ¶ 48; Id.]. In response, Quill’s counsel “promptly delivered

counter-notices under Section 512(g) of the Copyright Act” to Draft2Digital, Quill’s

Oklahoma distributor, and other vendors. Quill additionally alleges Defendants’


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communication with Draft2Digital “damaged Plaintiff’s reputation” and were “part of

concerted efforts to monopolize the market” and “stifle competition” [Am. Cmplt. ¶¶ 56,

60, 71]. Thus, Defendants’ communication to Draft2Digital and others “resulted in

financial losses, including, but not limited to, pre-release and ordinary book sales in the

United States and internationally.” [Am. Cmplt. ¶ 56].

       Of considerable distinction is Quill’s relationship with Draft2Digital. Quill and

Draft2Digital are parties to a binding contract involving Draft2Digital’s distribution

program. [Coale Dec., Ex. 1]. Draft2Digital is compensated through commissions on all

sales completed by it or through multiple online bookstores which sell Quill’s books. Quill

receives the full amount paid to Draft2Digital less their royalty commission. This contract

is governed under the laws of Oklahoma. Therein, Quill is also bound by jurisdiction and

venue provisions making the federal and state courts located in Oklahoma County,

Oklahoma, exclusive with respect to any claims, suits, or proceedings arising out of or in

connection with the agreement or the contemplated transactions.

       Accordingly, Blushing and Cain’s direct communications with Draft2Digital, in

Oklahoma City, Oklahoma, wherein they “knowingly and materially misrepresented to

Draft2Digital” that the “MYTH OF OMEGA series infringes upon Cain’s copyright” and

caused Draft2Digital to remove Quill’s publications from its distribution program

constitute sufficient “minimum contacts” between Defendants and Oklahoma to support

specific jurisdiction in this forum. [Am. Cmplt. Ex. 3].

       Moreover, venue is proper as Quill is statutorily entitled to bring its civil action in

“a judicial district in which a substantial part of the events or omissions giving rise to the


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claim occurred, or a substantial part of property that is the subject of the action is situated.”

28 U.S.C.S. § 1391(b)(2). The substantial events giving rise to Quill’s claim occurred when

Draft2Digital received Defendants’ notice in Oklahoma City, Oklahoma, and removed

Quill’s publications from its distribution program. Having intentionally interfered with an

Oklahoma property right (Quill’s contract with Draft2Digital) Defendants should not be

heard to complain of having to defend against consequences of its actions in Oklahoma.

Nat’l Occupational Health Servs., Inc. v. Advanced Indus. Care, 50 F. Supp. 2d 1111, 1117

(N.D. Okla. 1998) (“A party that tortiously interferes with the contract of another is subject

to personal jurisdiction in the state in which the property rights under that contract exist.”).

Oklahoma has an interest in the contract between Quill and Draft2Digital. Thus, Quill’s

contract with Draft2Digital represents an Oklahoma property right in which Defendants’

targeted and intentionally interfered with to cutoff distribution of Quill’s publications. See

Overbeck v. Quaker Life Ins. Co., 1984 OK CIV APP 44,¶ 4, 757 P.2d 846, 847-48

(“[I]nterference with a contractual relationship results in loss of a property right.”).

       Cain’s motion to dismiss should be denied. With respect to the apparently false

affidavit attached to Cain’s motion, Blushing admits “[it] and Soto filed the DMCA

notices,” which includes their communication with Draft2Digital in Oklahoma. [Resp. at ¶

38]. Her denial of having any contacts directed to Oklahoma is belied by the email from

Draft2Digital’s Director of Operations stating: “We’ve been contacted by the author

Addison Cain regarding an infringement on her titles.” [Am. Cmplt. Ex. 3]. Cain’s

declaration of no contacts is simply false and should be disregarded.




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       Blushing’s motion to dismiss should be stricken from its pleading as untimely and,

notwithstanding, is without merit and wholly unsupported by any affidavit or other

evidence sufficient to overcome Quill’s prima facie showing of personal jurisdiction.

                                        STANDARDS

I.     GENERAL PRINCIPLES RELATING TO PERSONAL JURISDICTION

       A.      Burden of Establishing Personal Jurisdiction

       The plaintiff bears the burden of establishing personal jurisdiction, but where, as

here, the issue is raised early on in litigation, based on pleadings (with attachments) and

affidavits, that burden can be met by a prima facie showing. Dudnikov v. Chalk &

Vermilion Fine Arts, Inc., 514 F.3d 1063, 1069-70 (10th Cir. 2008). “The allegations in the

complaint must be taken as true to the extent they are uncontroverted by the defendant’s

affidavits.” Id. Such as here. If the parties present conflicting affidavits, all factual disputes

must be resolved in plaintiff’s favor, and “the plaintiff’s prima facie showing is sufficient

notwithstanding the contrary presentation by the moving party.” Id. However, only the well

pled facts of plaintiff’s complaint, as distinguished from mere conclusory allegations, must

be accepted as true. Ten Mile Indus. Park v. Western Plains Serv. Corp., 810 F.2d 1518,

1524 (10th Cir. 1987); Mitchell v. King, 537 F.2d 385, 386 (10th Cir. 1976).

       B.      The Exercise of General Jurisdiction

       Where, as in Oklahoma, the state long arm statute supports personal jurisdiction to

the full extent constitutionally permitted, due process principles govern the inquiry.

Intercon, 205 F.3d at 1247. “[T]o exercise jurisdiction in harmony with due process,

defendants must have ‘minimum contacts’ with the forum state, such that having to defend


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a lawsuit there would not ‘offend traditional notions of fair play and substantial justice.’”

Dudnikov, 514 F.3d at 1070 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316, 66

S. Ct. 154, 90 L. Ed. 95 (1945)). Such contacts may give rise to personal jurisdiction over

a non-resident defendant either generally, for any lawsuit, or specifically, solely for

lawsuits arising out of particular forum-related activities:

       General jurisdiction is based on an out-of-state defendant’s “continuous and
       systematic” contacts with the forum state, and does not require that the claim
       be related to those contacts.

Id. at 1078 (citation omitted).

       C.     Establishing Specific Jurisdiction

       Specific jurisdiction, on the other hand, is premised on something of a quid pro quo:

in exchange for “benefitting” from some purposive conduct directed at the forum state, a

party is deemed to consent to the exercise of jurisdiction for claims related to those

contacts. Id. Thus, in contrast to the single, overarching requirement of continuous and

systematic contacts for general jurisdiction, the “minimum contacts” test for specific

jurisdiction encompasses two distinct requirements: “first, that the out-of-state defendant

must have ‘purposefully directed’ its activities at residents of the forum state, and second,

that the plaintiff’s injuries must ‘arise out of’ defendant’s forum-related activities.” Id. at

1071 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472, 105 S. Ct. 2174, 85 L.

Ed. 2d 528 (1985)). In Dudnikov, the Tenth Circuit delineated three salient factors that

together indicate “purposeful direction”:

       (a) an intentional action (writing, editing, and publishing the article), that was
       (b) expressly aimed at the forum state (the article was about a California
       resident and her activities in California; likewise it was drawn from


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       California sources and widely distributed in that state), with (c) knowledge
       that the brunt of the injury would be felt in the forum state (defendants knew
       Ms. Jones was in California and that her career revolved around the
       entertainment industry there).

Dudnikov, 514 F.3d at 1072.

       The second prong of the minimum contacts analysis requires consideration of

whether the alleged injuries arise out of Defendants’ contacts with Oklahoma. Shrader v.

Biddinger, 633 F.3d 1235, 1239 (10th Cir. 2011). Courts are split on the causal standard to

apply to this requirement, and the Tenth Circuit has not addressed which approach it

endorses. Silver v. Brown, 382 F. App’x 723, 731 (10th Cir. 2010) (citing Dudnikov, 514

F.3d at 1078). The two approaches considered by the Tenth Circuit are (1) “but-for”

causation and (2) proximate cause. Dudnikov, 514 F.3d at 1078.

       Finally, even if the “purposeful direction” and “arising out of” conditions for

specific jurisdiction are met, that is not the end of the matter. “[W]e must still inquire

whether the exercise of personal jurisdiction would offend traditional notions of fair play

and substantial justice.” Id. at 1080 (quotation omitted). But at that point, “it is incumbent

on defendants to present a compelling case that the presence of some other considerations

would render jurisdiction unreasonable.” Id. (emphasis added).

       D.     Personal Jurisdiction in the Internet Context

       The question of general jurisdiction here is potentially more complicated when

Blushing’s website’s commercial activities are considered. These do not affect the analysis

of specific jurisdiction, since only the contacts out of which Quill’s claims arise are relevant

in that respect. As the Fifth Circuit explained in analogous circumstances:



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       For specific jurisdiction we look only to the contact out of which the cause
       of action arises—in this case the maintenance of the internet bulletin board.
       Since this defamation action does not arise out of the solicitation of
       [business] . . ., those [commercial] portions of the website need not be
       considered.

Revell v. Lidov, 317 F.3d 467, 472 (5th Cir. 2002). But, the case for general jurisdiction,

which is based on all of a defendant’s contacts with the forum state, can sweep much

broader to include the sales side of the site.

       It should be emphasized that, as we are dealing with general jurisdiction, the

commercial contacts here must be of a sort “that approximate physical presence” in the

state—and “engaging in commerce with residents of the forum state is not in and of itself

the kind of activity that approximates physical presence within the state’s borders.”

Bancroft & Masters, Inc. v. Augusta Nat’l, Inc., 223 F.3d 1082, 1086 (9th Cir. 2000); see

Revell, 317 F.3d at 471 & n.19; Bird v. Parsons, 289 F.3d 865, 874 (6th Cir. 2002).

Nevertheless, most courts would agree that operating a website selling products to

residents of a state can subject the seller to general jurisdiction in that state,

depending on the nature and degree of commercial activity with the forum state. See,

e.g., Lakin v. Prudential Sec, Inc., 348 F.3d 704, 712-13 (8th Cir. 2003) (noting

determination of general jurisdiction over commercial web site would require development

of facts regarding quantity of transactions with forum residents) (emphasis added); Gorman

v. Ameritrade Holding Corp., 293 F.3d 506, 513, 352 U.S. App. D.C. 229 (D.C. Cir. 2002)

(same).

       The best general formulation for this niche of the law may have been provided by

the district court in Oklahoma: “A website will subject a defendant to general personal


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jurisdiction only when the defendant has actually and deliberately used its website to

conduct commercial transactions on a sustained basis with a substantial number of

residents of the forum.” Smith v. Basin Park Hotel, Inc., 178 F. Supp. 2d 1225, 1235 (N.D.

Okla. 2001) (emphasis added).

                         ARGUMENT AND AUTHORITIES

I.     BLUSHING’S “RESPONSE TO COMPLAINT” VIOLATES RULE (12)(B)
       OF THE FEDERAL RULES OF CIVIL PROCEDURE, IS UNTIMELY, AND
       SHOULD BE STRICKEN.

       Quill filed its Amended Complaint on October 17, 2018. On November 26, 2018,

having obtained an extension of time to answer or otherwise respond, Blushing filed a

pleading entitled “Defendant’s Response to Complaint”—an answer that includes a

paragraph seeking a dismissal. [Resp. at ⁋ 4]. Rule 12(b)(6) requires a motion to dismiss to

“be made before pleading.” FED. R. CIV. P. 12(B). Blushing begins its pleading by

answering Quill’s Amended Complaint with both a general denial of wrongdoing and then

proceeds with a denial of each paragraph of the Amended Complaint. [Resp. at ⁋⁋ 1-3, 5-

52]. Blushing includes in its pleading a request for dismissal on the grounds of personal

jurisdiction and venue. [Resp. at ⁋ 4]. Blushing continues answering each paragraph of

Quill’s Amended Complaint and includes sporadic arguments for dismissal in the context

of several paragraphs. Blushing’s response has, therefore, conflated practice under Rule

7(a)(6) and Rule 12(b)(6). See BAC Home Loans Servicing LP v. Fall Oaks Farm LLC,

848 F. Supp. 2d 818, 822 (S.D. Ohio 2012). Such is improper as “Rule 12(b) permits only

sequential, not concurrent, filing of a motion to dismiss and an answer.” Id.




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       This Court should align itself with those other courts that avoid unguided acceptance

of technical deviations by strictly honoring the language and structure of the federal rules.

See, e.g., Hand v. Houk, No. 2:07-cv-846, 2008 WL 5378358, at *2 (S.D. Ohio Dec. 23,

2008) (denying Rule 12(b) motion to dismiss because “[t]he Rule does not envision that a

motion to dismiss will be combined with an answer’); BAC Home Loans Servicing LP, 848

F. Supp. 2d at 822-23 (denying a motion-to-dismiss component of defendant’s answer as

untimely and explaining that “[t]his strict approach presents no substantive prejudice . . .

because [defendant] can simply make its arguments post-answer through another

mechanism that complies with the Civil Rules.”). This strict approach presents no

substantive prejudice here because Blushing can simply make its arguments post-answer

through another mechanism that complies with the federal rules. 2

       Accordingly, Blushing’s pleading should be deemed an answer that includes

affirmative defenses relating to personal jurisdiction and venue. [Resp. at ⁋ 55]. Paragraph

4 of the Blushing’s pleading purporting to advance a motion to dismiss should be denied

as untimely and stricken from the Response. [Resp. at ⁋ 4].




2
  While some courts have construed a concurrent motion to dismiss and answer, separately
filed, as motion for judgment on the pleadings under Rule 12(c), Blushing’s response does
not fit within this exception as it blends the two into one document. See, e.g., Metro. Prop.
& Cas. Ins. Co. v. Pest Doctor Sys., Inc., No. 3:14-cv-143-WHR, 2014 U.S. Dist. LEXIS
86647, 2014 WL 2855003, at *1 (S.D. Ohio June 23, 2014); Ruppe v. Knox Cty. Bd. of
Educ., 993 F. Supp. 2d 807, 809-10 (E.D. Tenn. 2014); Doe v. Sentech Emp’t Servs., Inc.,
186 F. Supp. 3d 732, 736 (E.D. Mich. 2016); Scheid v. Fanny Farmer Candy Shops, Inc.,
859 F.2d 434, 437 n.1 (6th Cir. 1988).

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II.   JURISDICTION IS PROPERLY ESTABLISHED IN THIS JUDICIAL
      DISTRICT.

      A.     Quill has Adequately Pled Facts Demonstrating Personal Jurisdiction
             over Blushing and Cain.

      Quill’s Amended Complaint alleges Defendants Blushing and Cain “directed a

‘take-down’ notice to Draft2Digital and other vendors on or about April 19, 2018” and

“demanded Draft2Digital remove the MYTH OF OMEGA books from sale.” [Am. Cmplt. ¶

44]. Quill also alleged Draft2Digital’s “principal address is in Oklahoma City, Oklahoma.”

[Am. Cmplt. ¶ 8]. Further, Quill alleges the “MYTH OF OMEGA series was released through

Draft2Digital [and others].” [Am. Cmplt. ¶ 43]. And, “[o]n May 16, 2018, Draft2Digital’s

representatives advised Plaintiff that Draft2Digital and Barnes and Noble had removed the

Myth of Omega series from sale because of the ‘take-down’ notices.” [Am. Cmplt. ¶ 48].

Quill additionally alleged “Blushing and Cain’s ‘take-down’ notices violated the Copyright

Act, damaged Plaintiff’s reputation and resulted in financial losses, including, but not

limited to, pre-release and ordinary book sales in the United States and internationally.”

[Am. Cmplt. ¶ 56].

      Blushing admits the DMCA notices in this lawsuit were sent by Blushing and Cain

to Draft2Digital, which is located in Oklahoma City, Oklahoma. [Resp. at ⁋ 38 (“ABCD

Graphics/Blushing and Soto filed the DMCA notices.”)].

      B.     Specific Jurisdiction over Defendants Exists in the Western District of
             Oklahoma by Virtue of the Digital Millennium Copyright Act Take
             Down Notice.

      The primary basis for Quill asserting jurisdiction over Defendants arises from

§512(f) of the DMCA. When a party sends a DMCA notice to a certain jurisdiction


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(“Receiving Jurisdiction”), that party avails itself of the jurisdiction of that court. This

availment operates not as a matter of the DMCA, but rather an operation of federal due

process requirements—more specifically, the standard discussed in Dudnikov. “The

Supreme Court has held that, to exercise jurisdiction in harmony with due process,

defendants must have minimum contacts with the forum state, such that having to defend

a lawsuit there would not offend traditional notions of fair play and substantial justice.”

Dudnikov, 514 F.3d at 1070 (citing Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

(1945)). With regard to the minimum contacts standard, there are two requirements that

must be met to establish subject matter jurisdiction: “first, that the out-of-state defendant

must have purposefully directed its activities at residents of the forum state, and second,

that the plaintiff's injuries must arise out of defendant's forum-related activities.” Id. at

1071 (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)). In addition to the

two aforementioned requirements, “exercising personal jurisdiction over defendants must

always be consistent with traditional notions of fair play and substantial justice.”. Id; see

also Burger King Corp., 471 U.S. at 475 (“This ‘purposeful availment’ requirement

ensures that a defendant will not be haled into a jurisdiction solely as a result of random,

fortuitous, or attenuated contacts”).

       The act of sending a DMCA notice is sufficient under federal due process to confer

specific jurisdiction in the Receiving Jurisdiction over the party sending the same under

the standard articulated in Dudnikov. In Automattic Inc. v. Steiner, 82 F. Supp. 3d 1011

(N.D. Calif. 2014), we find a series of facts that share similarities with the present action.

Automattic was a suit involving a California corporation, a student journalist based in


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London, and a press officer working for Straight Pride UK. Automattic, “a corporation

based in San Francisco…operates WordPress.” Automattic, 82 F. Supp. 3d at 1017.

WordPress is “a web-publishing platform.” Id. Oliver Hotham, the student journalist,

“maintains a blog on WordPress.” Id. For a piece he published on WordPress, Hotham used

quotes from a press statement he requested and obtained from Nick Steiner – who identified

himself as the “Press Officer” for Straight Pride UK. Id. When Hotham posted his article

to WordPress using the quotes from Steiner, “[Steiner] [sent] an email to both Hotham and

Automattic with the subject line: ‘Digital Millennium Copyright Act – Removal Request.’”

Id. at 1018. Automattic complied with the notice, and “disabled access to the material

identified as infringing.” Id. Following the takedown, Hotham allegedly posted more

infringing content, which was met with more emails from Steiner pursuant to the DMCA.

Automattic “expended time and resources in reviewing the takedown notices, disabling

Hotham’s posts, notifying Hotham of the takedown notices, handling requests for comment

from press, and pursuing legal action.” Id. at 1019.

       The legal action instigated by both Automattic and Hotham against Steiner was

based on the belief that the content of the notice was fraudulent. Id. at 1016 (“This action

arises under subsection (f) of the Digital Millennium Copyright Act, 17 U.S.C. § 512

(‘DMCA’), which provides a cause of action against any person who ‘knowingly materially

misrepresents’ that material or activity infringes a copyright to utilize the DMCA’s

takedown notice procedures”). The primary issue there was one of jurisdiction. In

answering the question of whether specific jurisdiction attached to Hotham, a non-

California resident, the Court held “Defendant’s sending the takedown notice to


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Automattic with the knowledge and purpose that it would induce Automattic to remove

content from Wordpress ‘individually targeted’ Automattic and thus constituted conduct

‘expressly aimed’ at California.” Id. at 1024. The court went on to state “Defendant’s

conduct with the purpose of forcing Automattic to act constituted ‘individualized targeting’

to satisfy ‘express aiming’ at the forum state to justify specific jurisdiction over the

Defendant.” Id.

       Therefore, as in Automattic, the act of sending the DMCA notice to Draft2Digital,

with the knowledge and purpose of causing Draft2Digital to act, Defendants subjected

themselves to the jurisdiction of the District Court for the Western District of Oklahoma.

In order to fully analyze this issue, the standard articulated in Dudnikov will be applied to

the facts at issue.

               1.     Defendants have sufficient minimum contacts with the Western
                      District of Oklahoma.

       In her Motion, Cain argues “Quill does not allege that Cain personally undertook

any acts in Oklahoma that relate to its declaratory judgment or other claims.” [Motion at

9]. This is simply not true. As alleged in paragraph 44 of the First Amended Complaint

[Am. Cmplt. ⁋ 44], “Blushing and Cain directed a ‘take down’ notice to Draft2Digital and

other vendors on or about April 19, 2018.” At the time of filing, Quill offered its Exhibit 3

in support of this allegation. Exhibit 3 of the First Amended Complaint [Am. Cmplt. Ex.

3] is an email from the Director of Operations for Draft2Digital regarding DMCA Take

Down Notice. The email message relates “DMCA Take Down Notice sent on Title: Crave

to Claim (Myth of Omega #3)”, and stated, “We’ve been contacted by the author Addison



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Cain regarding an infringement on her titles.” [Am. Cmplt. Ex. 3]. Draft2Digital was

contacted directly by Defendants regarding the DMCA take down notice. [Id.]. After the

filing of the First Amended Complaint, more evidence of Defendants’ contacts with this

jurisdiction were brought to light that directly contradict the allegations in Defendants’

Motion. Specifically, in Blushing’s Response to Complaint, Blushing states in response to

paragraph 86 of the First Amended Complaint “ABCD Graphics/Blushing and Soto filed

the DMCA notices”. [Resp. at ¶ 38]. By Blushing’s own admission, Defendants were each

involved in the transmission of the DMCA notice, either by transmitting it, directly

contacting Draft2Digital, or acting in concert with each other to do the same. Therefore,

Defendants purposefully directed their activities to the Western District of Oklahoma.

       In the First Amended Complaint, at the very least, the injury sustained in Counts I

through IX are all directly related to Defendants’ actions in the Western District of

Oklahoma. The basis for the vast majority of Quill’s allegations hinge on the fact that

Blushing and Cain unlawfully sent a DMCA takedown notice to Draft2Digital, an

Oklahoma City distributor, among other vendors, based on false information and a

misrepresented copyright. As was discussed, supra, Draft2Digial was contacted directly

by Defendants regarding the DMCA take down notice. The injury sustained as a result of

Defendants’ misuse of a copyright arises out of Defendants’ activities in the Western

District of Oklahoma. Therefore, Quill’s injuries arose out of Defendants’ forum-related

activities.




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              2.     Exercising specific jurisdiction over the Defendants would be
                     consistent with traditional notions of fair play and substantial
                     justice.

       Satisfaction of Dudnikov’s two-prong test alone is insufficient to establish specific

jurisdiction over Defendants. To fully comply with due process requirements of the United

States and the State of Oklahoma’s Constitutions, it must be established that exercising

jurisdiction over Defendants is consistent with traditional notions of fair play and

substantial justice. See Burger King Corp, 471 U.S. at 476 (“Once it has been decided that

a defendant purposefully established minimum contacts within the forum State, these

contacts may be considered in light of other factors to determine whether the assertion of

personal jurisdiction would comport with ‘fair play and substantial justice.’”) (citations

omitted). When analyzing the effect of jurisdiction on the these traditional notions, the

Tenth Circuit considers the following factors: “(1) the burden on the defendant, (2) the

forum state’s interest in resolving the dispute, (3) the plaintiff’s interest in receiving

convenient and effective relief, (4) the interstate judicial system’s interest in obtaining the

most efficient resolution of controversies, and (5) the shared interest of the several states

in furthering fundamental substantive social policies.” OMI Holdings v. Royal Ins. Co. of

Can., 149 F.3d 1086, 1095 (10th Cir. 1998) (citations omitted). Moreover, “[t]he strength

of these factors sometimes served to establish the reasonableness of jurisdiction upon a

lesser showing of minimum contacts than would otherwise be required.” Id. Each of these

issues will be discussed in turn.

       With regard to the first consideration, the burden on Defendants is minimal.

Although Cain bemoans that she was “forced to hire Oklahoma counsel so she can litigate


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1,200 miles away from her home in Virginia” [Motion at 11], the situation is not quite as

dramatic as suggested. As was established, supra, Defendants have sufficient minimum

contacts with the Western District of Oklahoma. Defendants cannot, and should not, be

allowed to purposefully direct their actions to a forum to the detriment of Quill, and then

cry “burdensome” when they are forced to be held accountable by Quill for injuries

sustained as a result of those actions.

       With regard to the second consideration, Oklahoma has a significant interest in

resolving the dispute. As a state, Oklahoma has an undeniable interest in discouraging

injuries that occur within the state. See Beverly Hills Fan Co. v. Royal Sovereign Corp., 21

F.3d 1558, 1568 (Fed. Cir. 1994). Not only do we have an instance where a party was

harmed in Oklahoma, but Oklahoma also has an underlying commercial interest. The injury

sustained by Quill in Oklahoma was directly connected to Quill’s contract with a small,

independently owned Oklahoma publishing company. If Defendants are allowed to

sidestep jurisdiction, this could have an undeniably adverse effect on the business and

reputation of Oklahoma distributors. Therefore, not only are traditional notions of fair play

and substantial justice not offended by asserting jurisdiction over Defendants, but those

notions are served and furthered by such an assertion.

       With regard to the third consideration, Quill can obtain convenient and effective

relief in Oklahoma. The Western District of Oklahoma is equipped to litigate these matters.

       With regard to the fourth consideration, Oklahoma is the most convenient place to

litigate the dispute. In assessing this consideration, a court may consider “the location of

witnesses, where the wrong underlying the lawsuit occurred, what forum’s substantive law


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governs the case, and whether jurisdiction is necessary to prevent piecemeal litigation. OMI

Holdings, 149 F.3d at 1097 (citations omitted). In this case, regardless of the forum, the

parties will be required to travel. The non-party witnesses are primarily located in

Oklahoma. However, the fact that a substantial portion of the underlying issues in this

lawsuit occurred in the forum as it relates to the DMCA notice, actions taken by

Draft2Digital, and the location of many of the relevant witnesses to Quill’s claims live in

forum, it is clear that the most convenient place to litigate would be in the Western District

of Oklahoma.

       With regard to the fifth and final consideration, the interest of the several states in

furthering fundamental substantive social policies is best served by litigating this matter in

the Western District of Oklahoma. As discussed, supra, Oklahoma has a substantial interest

in seeing that those wronged within its borders receive fair treatment. Moreover, there is

nothing in Defendants’ briefs that would indicate exercising specific jurisdiction over them

would affect the “substantive social policy interests of any other state or foreign nation.”

Red Oaks West, Inc. v. Specialty Trucks & Equip., Inc., 2015 U.S. Dist. LEXIS 96320, *20

(Dist. Utah 2015) (quoting OMI Holdings, 149 F.3d at 1097).

       Therefore, as Defendants have minimum contacts with the Western District of

Oklahoma, the exercise of jurisdiction over Defendants would not run afoul of traditional

notions of fair play and substantial justice, specific jurisdiction exists in this forum.




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       C.     Specific Jurisdiction over Defendants Exists in the Western District of
              Oklahoma by Virtue of Defendants’ Tortious Interference with Quill’s
              Contract with Draft2Digital.

       Notwithstanding the specific jurisdiction conferred upon Defendants through the

DMCA take down notice, the Western District of Oklahoma also has jurisdiction over the

Defendants by virtue of the allegations contained in Counts IV and V, relating to

Defendants’ malicious interference with Plaintiff’s contract with Draft2Digital. For

purposes of jurisdiction, “[a] party that tortiously interferes with the contract of another is

subject to personal jurisdiction in the state in which the property rights under that contract

exist.” Nat’l Occupational Health Servs., Inc., 50 F. Supp. 2d at 1117. The contract

between Quill and Draft2Digital represents a property right. See Overbeck, 1984 OK CIV

APP 44, ¶ 4 (“[I]nterference with a contractual relationship results in a loss of a property

right.”). The contract between Quill and Draft2Digital is an Oklahoma contract, and

therefore, Oklahoma has an interest in that contract. See Nat’l Occupational Health Servs.,

Inc., 50 F. Supp. 2d at 1117 (N.D. Okla. 1998) (“[T]he Court finds that Oklahoma has an

interest in the Contract between NOHS and MOST. Plaintiff’s principal place of business

was in Oklahoma, tests were either performed in Oklahoma or tests results were transmitted

to MOST through Oklahoma, and invoices for services performed by Plaintiff were sent

from Oklahoma.”). Not only do the services rendered by Draft2Digital as a distributor flow

through Oklahoma, but the contracts between Draft2Digital and their authors all contain

the following language:

       “THIS AGREEMENT WILL BE GOVERNED BY THE LAWS OF THE
       STATE OF OKLAHOMA, WITHOUT REFERENCE TO RULES
       GOVERNING CHOICE OF LAWS. YOU HEREBY IRREVOCABLY


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       CONSENT TO AND WAIVE ANY OBJECTION TO THE EXCLUSIVE
       JURISDICTION AND VENUE OF THE FEDERAL AND STATE
       COURTS LOCATED AT OKLAHOMA COUNTY, OKLAHOMA WITH
       RESPECT TO ANY CLAIMS, SUITS OR PROCEEDINGS ARISING
       OUT OF OR IN CONNECTION WITH THIS AGREEMENT OR THE
       TRANSACTIONS CONTEMPLATED HEREBY.”

Draft2Digital Terms of Service, § 17(e) (https://www.draft2digital.com/terms-of-service/).

Therefore, as Defendants tortuously interfered with the property right granted to Quill

through their contract with Draft2Digital, Defendants are subject to the jurisdiction of the

Western District of Oklahoma.

       D.     General Jurisdiction Could Additionally Be Supported Against
              Blushing.

       Quill alleged in its Amended Complaint that Blushing is a corporation organized

under the State of Virginia with its principal place of business in Charlottesville, Virginia.

[Am. Cmplt. ¶ 10]. However, the court in Daimler clarifies jurisdiction is not exclusively

limited to a corporation’s place of incorporation and its principal place of business, but

indicated that the standard for general jurisdiction over a corporation has been heightened,

as “the inquiry under Goodyear is not whether a foreign corporation’s in-forum contacts

can be said to be in some sense ‘continuous and systematic,’ it is whether that corporation’s

‘affiliations with the State are so “continuous and systematic” as to render [it] essentially

at home in the forum State.’” Daimler AG v. Bauman, 571 U.S. 117, 138, 134 S. Ct. 746,

761 (2014), citing Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919,

131 S. Ct. 2846, 2851 (2011). Moreover, Quill has alleged that Blushing’s actions with

respect to the DMCA notice served on Draft2Digital in Oklahoma was part of an effort to




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“stifle competition” and thereby benefit Blushing and Cain’s online sales in Oklahoma and

elsewhere. [Am. Cmplt. ¶ 71].

       Blushing’s response fails to demonstrate it is not engaging in “continuous and

systematic” business in Oklahoma. Instead, Blushing falsely claims its ties to Oklahoma

are “non-existent” and then admits engaging in commercial transactions with Oklahoma

residents through its website. Since Blushing claims it is the “oldest eBook publishers on

the web” having sold eBooks since 2001, its attempt to limit its business in Oklahoma to

the sales here only since January 2018 appears misleading and untrustworthy. Upon proper

examination, evidence may be available to demonstrate Blushing has engaged in

“continuous and systematic” business in the Oklahoma for many years thereby providing

for a determination of general jurisdiction. Blushing fails to provide anything whatsoever

to controvert Quill’s allegations or to substantiate its claims. Thus, while it is doubtful

Blushing’s online sales, based upon the unsubstantiated statement of its counsel, would be

sufficient to garner general jurisdiction in Oklahoma, this issue should not be foreclosed at

this stage without sufficient evidence being offered. Though, as demonstrated above,

Blushing’s admitted contacts with Draft2Digital are more than enough to support personal

jurisdiction notwithstanding.

III.   VENUE IS PROPER IN THE WESTERN DISTRICT OF OKLAHOMA.

       In Defendant Cain’s Motion, she relies on a specific portion of the United States

Code in her venue analysis. Pursuant to federal law, “[c]ivil actions, suits, or proceedings

arising under any Act of Congress relating to copyrights or exclusive rights in mask works

or designs may be instituted in the district in which the defendant or his agent resides or


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may be found.” 28 U.S.C.S. § 1400 (emphasis added). For purposes of establishing venue,

it is important to note the interaction between specific jurisdiction and venue, and to more

fully analyze the application of the “may be found” language in the United States Code.

For purposes of establishing proper venue, and as correctly identified by Defendant,

“courts that have had occasion to determine the meaning of ‘may be found’ in this provision

have held that a defendant is ‘found’ in any district in which personal jurisdiction may be

obtained over him’” [Motion at 12]. This Court should follow this interpretation. In light

of the fact that the Western District of Oklahoma can assert specific jurisdiction over

Defendants, it is without question that venue is proper in this case. See Southern v. All

Points Delivery Sys., 2006 U.S. Dist. LEXIS 19512, *18 (N.D. Okla. 2006) (“28 U.S.C. §

1400(a) permits copyright infringement suits to be instituted in any district where the

defendant resides or may be found, and a defendant may be found anywhere he is subject

to personal jurisdiction”) (citations omitted); Chalfant v. Tubb, 453 F. Supp. 2d 1308, 1316

(N.D. Okla. 2006) (“Defendants argue that he is a resident of Texas, and that venue in the

Northern District of Oklahoma is improper. Under section 1400(a), a defendant may be

found in any judicial district where he is subject to personal jurisdiction. The Court has

already determined that it has personal jurisdiction over defendants. Therefore, venue is

proper in this Court.”) (citations omitted); Thomas Jackson Publ’g, Inc. v. Buckner, 625 F.

Supp. 1044, 1046, (D. Neb. 1985) (“[V]enue is proper in any district in which the court has

personal jurisdiction over a non-resident defendant pursuant to a state’s long-arm statute.”)

(citations omitted); Donner v. Tams-Witmark Music Library, Inc., 480 F. Supp. 1229, 1234

(E.D. Penn. 1979) (“The federal copyright venue statute provides that suit may be brought


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in any district in which the defendant “may be found.” 28 U.S.C.S. § 1400(a). Decisions

interpreting this phrase hold that a defendant “may be found” wherever he is amenable to

personal jurisdiction.”) (citations omitted); Droke House Publrs., Inc. v. Aladdin Distrib.

Corp., 352 F. Supp. 1062, 1065 (N.D. Ga. 1972) (“state long arm statutes may be used to

establish service of process, venue and in personam jurisdiction in copyright infringement

cases and the jurisdictional and venue standards found in 28 U.S.C. § 1400(a) should be

applied liberally”) (citations omitted).

       Moreover, venue is proper as Quill is statutorily entitled to bring its civil action in

“a judicial district in which a substantial part of the events or omissions giving rise to the

claim occurred, or a substantial part of property that is the subject of the action is situated.”

28 U.S.C.S. § 1391(b)(2).

       Further, it is important to note that the analysis provided by the court in National

Occupational Health Servs., Inc., where the Northern District of Oklahoma determined

that venue was improper does not apply in this case. In National Occupational Health

Servs., the court determined that “[s]ince neither a substantial part of the events or

omissions giving rise to the claim occurred in Oklahoma, nor a substantial part of the

property that is subject to the action is situated in Oklahoma, this action may not be brought

in Oklahoma.” Nat’l Occupational Health Servs., 50 F. Supp. 2d at 1119. In the present

case, venue is proper because both a substantial part of the events or omissions giving rise

to the claim occurred in Oklahoma for the reasons discussed, supra, and a substantial part

of the property that is subject to the action is situated in Oklahoma by virtue of the contract

with Draft2Digital. Therefore, this forum is the appropriate venue for the present action.


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                                     CONCLUSION

       WHEREFORE, for the reasons stated herein, Plaintiff, Quill Ink Books Limited

prays that this Court deny the Motion to Dismiss Plaintiff’s First Amended Complaint for

Lack of Personal Jurisdiction and Improper Venue, or, in the Alternative, Transfer

[Motion, Dkt. No. 18] filed by Defendant Rachelle Soto a/k/a Addison Cain. Defendant

ABCD Graphics and Design, Inc., d/b/a Blushing Books’ pleading [Resp., Dkt. No. 19]

should be deemed an answer that includes affirmative defenses relating to personal

jurisdiction and venue. Paragraph 4 of Blushing’s pleading purporting to advance a motion

to dismiss should be denied as untimely and stricken from the Response. [Resp. at ⁋ 4].

Quill requests such other relief as the Court deems just and equitable.


                                             Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of December, 2018, I electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing. Based on the

records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to

the following ECF registrants:

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